






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00466-CR







Michael Lester Trubee, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 05-864-K368, HONORABLE DONALD LEONARD, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant's brief was originally due January 15, 2007.  On March 28, the Court
granted counsel's untimely motion for extension of time and ordered counsel to file a brief on
appellant's behalf no later than April 16, 2007.  Counsel did not file a brief as ordered.

The appeal is abated.  The district court shall conduct a hearing to determine whether
John Duer, the attorney appointed by the court, has abandoned this appeal.  See Tex. R. App. P.
38.8(b)(2).  The court shall make appropriate findings and recommendations.  If Duer is not prepared
to prosecute this appeal in a timely fashion, the court shall appoint substitute counsel who will
effectively represent appellant on appeal.  A record from this hearing, including copies of all findings
and orders and a transcription of the court reporter's notes, shall be forwarded to the clerk of this
Court for filing as a supplemental record no later than June 22, 2007.  See id. Rule 38.8(b)(3).




				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Abated

Filed:   May 22, 2007

Do Not Publish


